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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION


SAMUEL LEWIS FOWLER,

     Plaintiff,
                                                       CIVIL ACTION NO.
v.                                                     5:20‐cv‐171‐TES‐CHW

STATE OF GEORGIA, et al.,

     Defendants.

                                          ORDER



        The United States Magistrate Judge recommends that Fowler’s motion [Doc.

 41]—construed as a motion seeking preliminary injunctive relief—be denied. See [Doc.

 50]. Fowler was given 14 days to file objections to the Report and Recommendation

 (“R&R”). [Id. at p. 2]. Because Fowler has not filed objections, the Court will review the

 R&R for clear error. See 28 U.S.C. § 636(b)(1). Finding no clear error with the Magistrate

 Judge’s recommendation, the Court ADOPTS the R&R [Doc. 50] and MAKES IT THE

 ORDER OF THE COURT. Accordingly, Fowler’s motion for preliminary injunctive

 relief [Doc. 41] is DENIED.

        SO ORDERED, this 7th day of June, 2021.

                                           S/ Tilman E. Self, III
                                           TILMAN E. SELF, III, JUDGE
                                           UNITED STATES DISTRICT COURT
